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                                   CIBU Board Members/Directors May 2020:

                                   Anya Eskildsen
                                   Roede Laage 16
                                   DK-2670 Greve
                                   Denmark

                                   Anne Hyrup Madsen
                                   Melchiorsvej 24
                                   DK-3450 Alleroed
                                   Denmark

                                   Flemming Hansen
                                   Rudersdalsvej 69
                                   DK-2840 Holte
                                   Denmark

                                   Birgitte Faber
                                   Risbyvej 1
                                   DK-4750 Lundby
                                   Denmark

                                   Leah LeLoup
                                   Hutchinson and Bloodgood LLP
                                   7676 Hazard Center Drive, Suite 1150
                                   San Diego, CA 92108

                                   Peter F. Baekkelund
                                   1041 Leroy Street
                                   San Diego CA 92106

                                   Joseph Vithayathil
                                   112 Fountain Dr
                                   Glen Carbon,
                                   Illinois 62034

                                   Stephen Smith
                                   3749 Carmel View Road #6
                                   San Diego, CA 92130
